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                     EXHIBIT E
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(202) 223-7343

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cbenson@paulweiss.com




                                                June 25, 2013



           By Email

           Robert A. Sacks
           Sullivan & Cromwell LLP
           1888 Century Park East, Suite 2100
           Los Angeles, California 90067

             Sharp Electronics Corporation, et al. v. Hitachi, et al., No. 13-cv-1173 (MDL Docket
                                        No. 07-cv-5944) (N.D. Cal.)

           Dear Robert:

                          I attach again a copy of my letter dated June 21, 2013. Please provide
           dates and times you are available this week to have such a conference to discuss
           discovery deadlines.

                           Recall that we accorded you the courtesy of extending the time for
           Thomson Consumer to respond to our complaint, which we served in mid-March. We
           have indicated that we wish to proceed with discovery without delay. You indicated in
           your prior letter that discovery should not proceed until we convene a discovery
           conference. We disagree, but offered to participate in such a conference as an
           accommodation. But we have not received any response from you providing a time to
           meet and discuss.
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Robert A. Sacks                                                                         2


              We already have a hearing date of July 23 before the Special Master and
can prepare any discovery-related disputes for that hearing.

              Thank you for your prompt response.

                                         Very truly yours,

                                         /s/

                                         Craig A. Benson


Attachment
